                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                              Inmate: 275991 - BURKES, KEVIN L.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject               Brief Summary
     08/14/2014          OCC-2014-16104          4 - Medical            Inmate complains of a copy he was charged for.
     09/17/2019          DCI-2019-16294          4 - Medical            Inmate complains about an issue with this scalp which is
                                                                        causing hair loss, itching, and discoloration of the skin.
     10/02/2019          KMCI-2019-17241         11 - Visiting          Inmate complains of denied visitor.
     10/02/2019          KMCI-2019-17242         2 - Correspondence     Inmate complains of denied photos.
                                                 & Publications
     11/11/2019          KMCI-2019-19761         7 - Personal           Inmate complains of missing canteen after returning from
                                                 Property               OCO.
     09/12/2020          DCI-2020-15709          6 - Personal           Inmate complains it's cold in his room.
                                                 Physical Conditions
     09/14/2020          DCI-2020-15797          10 - Work & School     Inmate complains he does not have access to the law
                                                 Programs               library.
     07/01/2021          CCI-2021-10105          4 - Medical            04 Alleges he is denied medical attention.
     07/02/2021          CCI-2021-10170          1 - Staff              01 Alleges issue with CO on 6/25/21 7:00 p.m.
     09/03/2021          CCI-2021-13371          1 - Staff              complains of staff harassments
     12/07/2021          CCI-2021-18580          1 - Staff              01 Alleges on 11/23/21 Sergeant Podoll refused to give
                                                                        him a PSR form.
     12/15/2021          CCI-2021-19078          19 - Confidentiality   19 Alleges on 11/29/21 RN Kramer told an officer
                                                 of & Access to         privileged information about him. (HIPPA)
                                                 Protected Health
                                                 Information
     12/29/2021          CCI-2021-19921          1 - Staff              01 Alleges he was retaliated against by RN Kramer on
                                                                        11/30/21.
     02/07/2022          CCI-2022-2544           17 - Inmate            17 Requesting back pay from position at HSU.
                                                 Accounts
     02/21/2022          CCI-2022-3277           10 - Work & School     10 Informed he had his job back at HSU, yet alleges
                                                 Programs               HSUM Fofana refuses to call him for work.
     05/03/2022          WCI-2022-6921           7 - Personal           Damaged tablet upon arrival to WCI
                                                 Property
     05/09/2022          WCI-2022-7130           7 - Personal           Contraband property
                                                 Property
     05/20/2022          WCI-2022-7936           12 - Other             Complains he is not being scheduled for Law Library
     07/05/2022          WCI-2022-10017          4 - Medical            Allergies are not being treated
     07/12/2022          WCI-2022-10420          14 - Classification    Challenges CCI classification decision
     07/26/2022          WCI-2022-11224          6 - Personal        Complains he was not able to shower after work on 7/14
                                                 Physical Conditions
     08/08/2022          WCI-2022-11835          17 - Inmate         Complains of $5 recycling fee for tablet
                                                 Accounts
     09/15/2022          WCI-2022-13948          15 - ICRS           Complains ICE Wilson did not process his complaint
     09/20/2022          WCI-2022-14340          4 - Medical            Complains auto-immune disorder is not being treated
     09/20/2022          WCI-2022-14341          4 - Medical            Complains foot pain is not being treated
     09/28/2022          WCI-2022-14644          4 - Medical            Denied extra pillow accommodation
     11/02/2022          WCI-2022-16410          4 - Medical            Challenges co-pay
     02/06/2023          WCI-2023-1768           4 - Medical            Complains of interference with medical treatment
     02/15/2023          WCI-2023-2315           1 - Staff              complains his medical box was taken
Print Date: January 02, 2024                                 Page 1 of 2
                                                      ** ICRS CONFIDENTIAL **


                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 1 of 2 Document 32-181017- 1
                                                 State of Wisconsin
                                                  Department of Corrections
                                   INMATE COMPLAINT HISTORY REPORT
                                                      by Date Received
                                              Inmate: 275991 - BURKES, KEVIN L.

                   ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                      ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

   Received Date         Complaint Number         Subject              Brief Summary
     02/22/2023          WCI-2023-2633           1 - Staff             Claims CO Coleman disrespected him
     05/03/2023          WCI-2023-6369           12 - Other            complains he only received one shower the week of
                                                                       4/17/23
     05/10/2023          WCI-2023-6913           12 - Other            complains he could not exchange clothing for 7 days
     05/15/2023          WCI-2023-7055           18 - BCE              complains he lost his job. Changed from 10 to 18.
                                                                       7.19.2023 ed
     05/22/2023          WCI-2023-7409           6 - Personal          complains he is not receiving cleaning supplies
                                                 Physical Conditions
     06/26/2023          WCI-2023-9370           12 - Other          claims there is a lack of wellness checks due to the
                                                                     lockdown
     07/12/2023          WCI-2023-10358          4 - Medical         complains not receiving eye doctor appointment
     07/18/2023          WCI-2023-10586          4 - Medical           complains regarding actions of nurse
     08/16/2023          WCI-2023-12305          1 - Staff             complains regarding staff not doing rounds
     08/28/2023          WCI-2023-12734          4 - Medical           complains regarding not being seen by HSU
     10/20/2023          WCI-2023-15801          7 - Personal          complains regarding contraband photo
                                                 Property
     10/27/2023          WCI-2023-16097          22 - Dental           complains regarding denied care for 3 years
     11/07/2023          WCI-2023-16697          4 - Medical           complains regarding lack of follow up
     11/13/2023          WCI-2023-16920          12 - Other            complains regarding denied recreation week of 10/29
     11/21/2023          WCI-2023-17477          17 - Inmate           complains regarding double deduction from account
                                                 Accounts
                                                      *** End of Report ***




Print Date: January 02, 2024                                 Page 2 of 2
                                                      ** ICRS CONFIDENTIAL **


                                                                          EXHIBIT
                   Case 2:23-cv-01430-WED Filed 03/25/24 Page 2 of 2 Document 32-181017- 2
